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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
                           MINUTES OF PROCEEDINGS


 NEWARK
                                                                Date: 11/14/22
 JUDGE: Madeline Cox Arleo

 COURT REPORTER: Charles McGuire

 DEPUTY CLERK: Amy Andersonn

 Title of Case:                                              Docket No. 20cv-12470(MCA)

 ALKERMES, INC., et al. v. TEVA PHARMACEUTICAL INDUSTRIES USA, INC.

 Appearances:

 Charles Lizza, Esq., for plaintiff
 Isaac Ashkenazi, Esq., for plaintiff
 Sarah Sullivan, Esq., for plaintiff
 Bruce Wexler, Esq., for plaintiff
 Liza Walsh, Esq., for defendant
 Christine Gannon, Esq., for defendant
 Jessica Formichella, Esq., for defendant
 Uma Everett, Esq., for defendant

 Nature of proceedings: Status Conference (via zoom)

 Status conference held.
 Trial date rescheduled to start on: 2/16/23.
 Status letter to be filed by 2/1/23.
 Ordered transcript shall be sealed.




 Time Commenced 9:00 a.m.
 Time Adjourned 9:15 a.m.

                                                       Amy Andersonn
                                                       Amy Andersonn, Deputy Clerk
